






						

	





NUMBERS 13-08-00018-CR


						 13-08-00019-CR

						 13-08-00020-CR


COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      

							 

SKYE CLAYTON LACROIX,			   			 Appellant,


v.


THE STATE OF TEXAS,					        	 	  Appellee.

                                                                                                                                      


On appeal from the 252nd  District Court

of Jefferson County, Texas.

                                                                                                                      


  MEMORANDUM OPINION


Before Chief Justice Valdez and Justices Yañez and Benavides


  Memorandum Opinion by Chief Justice Valdez
	

	Appellant, Syke Clayton LaCroix, was indicted for the offense of assault on a family
member (appellate cause number 13-08-00020-CR) that allegedly occurred on May 1,
2006.  See Tex. Penal Code Ann. § 22.01(b)(2) (Vernon Supp. 2008).  The indictment
alleged two prior convictions, one for assault and another for assault on an elderly person,
enhancing punishment to a third-degree felony.  See generally, id. § 12.42 (Vernon Supp.
2008).  Pursuant to a plea agreement with the State, LaCroix pleaded guilty to the indicted
offense in exchange for a recommendation from the State that he receive deferred
adjudication, be placed on community supervision for five years, and be assessed a $500
fine.   See Tex. Code Crim. Proc. Ann. art. 42.12 (Vernon Supp. 2008).  The trial court
accepted the plea agreement, deferred adjudication, placed LaCroix on community
supervision for five years, and assessed a $500 fine.  

	On October 23, 2007, the State moved to revoke LaCroix's community supervision
and adjudicate guilt on the grounds that he was a repeat offender who, after being placed
on community supervision, allegedly (1) assaulted a family member (appellate cause
number 13-08-00019-CR), and (2) assaulted an elderly person (appellate cause number
13-08-00018-CR).  LaCroix pleaded "true" to the two allegations in the motion to revoke. 
On November 27, 2007, the trial court adjudicated LaCroix's guilt on the primary offense
and found the two grounds for revocation of his community supervision "true."  The trial
court sentenced LaCroix to consecutive terms of confinement for five (13-08-00020-CR),
twenty (13-08-00018-CR), and twenty (13-08-00019-CR) years.  See Tex. Code Crim.
Proc. Ann. art. 42.01, § 1(19) (Vernon 2006), art. 42.08 (Vernon 2006).  LaCroix's court-appointed appellate counsel has filed an Anders brief.  We affirm.

I. Anders Brief

	Pursuant to Anders v. California, 386 U.S. 738, 744 (1967), LaCroix's
court-appointed appellate counsel has filed a brief with this Court, stating that his review
of the record yielded no grounds or error upon which an appeal can be predicated. 
Although counsel's brief does not advance any arguable grounds of error, it does present
a professional evaluation of the record demonstrating why there are no arguable grounds
to be advanced on appeal.  See In re Schulman, 252 S.W.3d 403, 407 n.9 (Tex. Crim.
App. 2008) ("In Texas, an Anders brief need not specifically advance 'arguable' points of
error if counsel finds none, but it must provide record references to the facts and
procedural history and set out pertinent legal authorities.") (citing Hawkins v. State, 112
S.W.3d 340, 343-44 (Tex. App.-Corpus Christi 2003, no pet.)); Stafford v. State, 813
S.W.2d 503, 510 n.3 (Tex. Crim. App. 1991).  

	In compliance with High v. State, 573 S.W.2d 807, 813 (Tex. Crim. App. [Panel Op.]
1978), LaCroix's counsel has carefully discussed why, under controlling authority, there are
no errors in the trial court's judgment.  Counsel has informed this Court that he has:  (1)
examined the record and found no arguable grounds to advance on appeal, (2) served a
copy of the brief and counsel's motion to withdraw on LaCroix, and (3) informed LaCroix
of his right to review the record and to file a pro se response within thirty days. (1)  See
Anders, 386 U.S. at 744; Stafford, 813 S.W.2d at 510 n.3; see also In re Schulman, 252
S.W.3d at 409 n.23.  More than an adequate period of time has passed, and LaCroix has
not field a pro se response.  See In re Schulman, 252 S.W.3d at 409.

II. Independent Review

	Upon receiving an Anders brief, we must conduct a full examination of all the
proceedings to determine whether the case is wholly frivolous.  Penson v. Ohio, 488 U.S.
75, 80 (1988).  We have reviewed the entire record and counsel's brief and have found
nothing that would arguably support an appeal.  See Bledsoe v. State, 178 S.W.3d 824,
826-28 (Tex. Crim. App. 2005) ("Due to the nature of Anders briefs, by indicating in the
opinion that it considered the issues raised in the briefs and reviewed the record for
reversible error but found none, the court of appeals met the requirement of Texas Rule
of Appellate Procedure 47.1."); Stafford, 813 S.W.2d at 509.  Accordingly, we affirm the
judgments of the trial court.

III. Motion to Withdraw

	In accordance with Anders, LaCroix's attorney has asked this Court for permission
to withdraw as counsel for appellant.  See Anders, 386 U.S. at 744; see also In re
Schulman, 252 S.W.3d at 408 n.17 (citing Jeffery v. State, 903 S.W.2d 776, 779-80 (Tex.
App.-Dallas 1995, no pet.) (noting that "[i]f an attorney believes the appeal is frivolous, he
must withdraw from representing the appellant.  To withdraw from representation, the
appointed attorney must file a motion to withdraw accompanied by a brief showing the
appellate court that the appeal is frivolous.") (citations omitted)).  We grant counsel's
motion to withdraw.  Within five days of the date of this Court's opinion, counsel is ordered
to send a copy of the opinion and judgment to LaCroix and to advise him of his right to file
a petition for discretionary review. (2)  See Tex. R. App. P. 48.4; see also In re Schulman, 252
S.W.3d at 412 n.35; Ex parte Owens, 206 S.W.3d 670, 673 (Tex. Crim. App. 2006). 

							_______________________   

							ROGELIO VALDEZ

							Chief Justice

	

Do not publish. Tex. R. App. P. 47.2(b)

Memorandum Opinion delivered and

filed this the 9th day of July, 2009. 
1.   The Texas Court of Criminal Appeals has held that "the pro se response need not comply with the
rules of appellate procedure in order to be considered.  Rather, the response should identify for the court
those issues which the indigent appellant believes the court should consider in deciding whether the case
presents any meritorious issues."  In re Schulman, 252 S.W.3d 403, 409 n.23 (Tex. Crim. App. 2008) (quoting
Wilson v. State, 955 S.W.2d 693, 696-97 (Tex. App.-Waco 1997, no pet.)).
2.  No substitute counsel will be appointed.  Should appellant wish to seek further review of this case
by the Texas Court of Criminal Appeals, he must either retain an attorney to file a petition for discretionary
review or file a pro se petition for discretionary review.  Any petition for discretionary review must be filed within
thirty days from the date of either this opinion or the last timely motion for rehearing that was overruled by this
Court.  See Tex. R. App. P. 68.2.  Any petition for discretionary review must be filed with this Court, after which
it will be forwarded to the Texas Court of Criminal Appeals.  See Tex. R. App. P. 68.3; 68.7.  Any petition for
discretionary review should comply with the requirements of Rule 68.4 of the Texas Rules of Appellate
Procedure.  See Tex. R. App. P. 68.4.


